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IN THE UNITED STATES DISTRICT COURT MAR 11 2021
FOR THE NORTHERN DISTRICT OF OHIO CLERK,US, DISTRICT. COURT

UNITED STATES OF AMERICA, ex rel.
GLENN RZESZUTKO,

6548 Dunbarton Drive, *
Hudson, OH 44236 5 a

BRINGING THIS ACTION ON
BEHALF OF THE UNITED STATES OF
AMERICA

c/o Hon. Bridget M. Brennan

Acting United States Attorney

801 West Superior Avenue, Suite 400
Cleveland, OH 44113

and

Hon. Monty Wilkinson

Acting United States Attorney General
Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530

Plaintiff and Relator,
Vv.

RITE AID CORPORATION,

c/o The Corporation Trust Company
Corporation Trust Center

1209 Orange Street

Wilmington, DE 19801,

and

ELIXIR INSURANCE COMPANY fi/k/a
ENVISION INSURANCE COMPANY
f/k/a ENVISION RX PLUS, INC.,

c/o A.G.C. Co.

127 Public Square, Suite 2000
Cleveland, OH 44114,

and

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DISTRICT OF OHIO
NORTHERN Det

1 CV 574398

JUDGE ADAMS

Filed Under Seal Pursuant to 31 U.S.C.

ee MAG. JUDGE BURKE

Do Not Serve

Do Not Put On PACER

JURY TRIAL DEMANDED

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ELIXIR RX OPTIONS, LLC, f/k/a RX
OPTIONS, LLC, f/k/a RX OPTIONS,
INC.,

c/o CT Corporation System

4400 Easton Commons Way, Suite 125
Columbus, OH 43219,

and

ELIXIR RX SOLUTIONS, LLC, f/k/a
ENVISION PHARMACEUTICAL
SERVICES, LLC, ffk/a ENVISION
PHARMACEUTICAL SERVICES, INC.,
c/o CT Corporation System

4400 Easton Commons Way, Suite 125
Columbus, OH 43219,

and

JOHN DOES I-— V, inclusive,

Nee eee eee” ee ne ne ee ee ee ee ee eee ee Ne ee eee” Nee” eee” See”

Defendants.

INTRODUCTION

1. Relator Glenn Rzeszutko (“Relator”) brings this action on behalf of the United States
pursuant to the False Claims Act, 31 U.S.C. § 3729, et seg., to recover damages and civil penalties
from Defendants Rite Aid Corporation (“Rite Aid”), Elixir Insurance Company f/k/a Envision
Insurance Company f/k/a Envision RX Plus, Inc. (“EC”), Elixir RX Options, LLC f/k/a RX
Options, LLC ffk/a RX Options, Inc. (“ROI”), Elixir RX Solutions, LLC f/k/a Envision
Pharmaceutical Services, LLC f/k/a Envision Pharmaceutical Services, Inc. (“EPS”) (collectively,
EIC, ROI, and EPS are referenced herein as “Envision”’), and Does I-V (collectively, all defendants
are referenced herein as “Defendants’”).

2. This action arises from Defendants’ scheme to defraud the government by retaining

millions of dollars of rebates provided by prescription drug manufacturers and deliberately

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misclassifying them as “bona fide service fees” on their annual direct and indirect remuneration
reports, causing the Medicare Part D program to overpay for prescription drugs and/or fail to
recoup over $200 million.

3. Defendants made, or caused to be made, false or fraudulent claims to the federal Medicare
program. Defendants also made false or fraudulent representations and certifications material to
such claims in violation of the False Claims Act.

4, The United States has suffered millions of dollars in damages as a result of Medicare’s
payment of the false or fraudulent claims submitted and/or caused to be submitted by Defendants.

S. Prior to filing this Complaint, Relator provided the United States Attorney for the Northern
District of Ohio a written Disclosure Statement of substantially all the material evidence and
information in his possession related to the allegations in this Complaint in accord with 31 U.S.C.
§ 3730(b)(2). The Disclosure Statement includes the work product of Relator’s attorneys and was
submitted to the Attorney General and to the United States Attorney as potential co-counsel in the
litigation pursuant to joint prosecution and common interest privileges. Therefore, this disclosure
is confidential and privileged.

6. There has been no “public disclosure,” as that term is defined in the False Claims Act, 31
U.S.C. § 3730(e)(4)(A), of the false claims or allegations herein.

7, Even if a public disclosure has occurred, Relator is an “original source” pursuant to 31
U.S.C. § 3730(e)(4)(B). Relator voluntarily disclosed to the Government the information on which
the allegations or transactions involved in this litigation are based prior to any public disclosure.
Additionally, Relator has knowledge that is independent of any such public disclosure and
materially adds to the publicly disclosed allegations or transactions, and Relator voluntarily

provided this information to the United Stated before filing this action.

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JURISDICTION AND VENUE

8. This action arises under the False Claims Act, as amended, 31 U.S.C. §§ 3729-3733. This
Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1345.

9. This Court has personal jurisdiction over all Defendants pursuant to 31 U.S.C. § 3732(a)
because all Defendants can be found, reside, transact business, or committed acts proscribed by
the False Claims Act within the State of Ohio and the United States.

10. Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because at least one of
Defendants transacts business within this district and has committed acts proscribed by the False
Claims Act within this district.

PARTIES

11. Relator is a natural person residing in Ohio.

12. Defendant Rite Aid is a Delaware corporation that conducts business in Ohio.

13. Defendant EIC is an Ohio corporation that conducts business in Ohio.

14. Defendant ROI is an Ohio limited liability company that conducts business in Ohio.

15. Defendant EPS is an Ohio limited liability company that conducts business in Ohio.

16. The Doe Defendants are corporate entities of unknown structure and/or registration that
are affiliated with the other Defendants and conduct business in Ohio.

THE MEDICARE PART D PROGRAM

A. Overview

17. Medicare Part D was established by the Medicare Prescription Drug, Improvement and
Medernization Act of 2003, for the purpose of providing prescription drug coverage to individuals

eligible for Medicare.

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18. Unlike Parts A and B of the Medicare Act, Part D is a private, market-based program, in
which the costs are shared between the government and private health insurers who offer
prescription drug plans, provided those plans meet the requirements of the Medicare Part D Act
and its regulations, Private health insurers that offer such plans are referred to as Part D Plan
Sponsors (“Plan Sponsors”), and their Medicare Part D plans are referred to as Part D Plans.

19. The government agency responsible for administration of the Medicare Part D Program is
the Centers for Medicare and Medicaid Services (“CMS”), which is under the aegis of the U.S.
Department of Health and Human Services. 42 U.S.C. § 1395w-101, ef seq.

20, Part D Plans are required to enter into contracts with CMS and must certify in their contract
that they agree to comply with all federal laws and regulations designed to prevent fraud, waste,
and abuse.

21. Under Medicare Part D, plan beneficiaries pay premiums to participate in a Part D Plan.
Beneficiaries obtain prescriptions from their health care provider and then obtain their medications
from pharmacies. The dispensing pharmacy then seeks reimbursement from the beneficiary’s Plan
Sponsor. Plan Sponsors are reimbursed by Medicare for the cost of the covered drugs.

B. Prescription Drug Costs and Rebates

22. The list price paid for a drug by a Plan Sponsor to a pharmacy at the point of sale often
does not reflect the actual, final cost of the drug to the Part D Plan because rebates and other price
concessions are often offered by pharmaceutical manufacturers after the point of sale.

23. Pharmaceutical manufacturers offer rebates and other price concessions to Plan Sponsors
and their intermediaries for a variety of reasons, including as an incentive to include

manufacturer’s drugs on the plan’s formularies.

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24. When a beneficiary obtains a prescription drug at a pharmacy, the Plan Sponsor pays the
pharmacy the drug’s list price (e.g., $100), but the manufacturer may offer a rebate after the point
of sale (e.g., $20) which would reduce the Plan Sponsor’s final cost of the drug (¢.g., $80).

25. Prescription drug rebates have increased considerably over the past decade, sometimes
reaching 50 percent or more of the list price.

C. Pharmacy Benefit Managers

26. Part D Plan Sponsors subcontract with many entities to provide prescription drugs to the
Medicare Part D beneficiaries enrolled in their plans, including subcontracts with pharmacy benefit
managers (“PBM”),

27, PBMs are companies that manage prescription drug benefits on behalf of Part D Plans and
other non-Medicare prescription drug plans. PBMs are used to aggregate the collective buying
power of multiple plans to obtain lower prescription drug prices for the plans’ beneficiaries. PBMs
operate in the middle of the distribution chain by negotiating with prescription drug manufacturers
for rebates and other discounts; developing and maintaining lists, or “formularies,” of covered
medications: contracting directly with individual pharmacies to reimburse the pharmacies for
drugs dispensed to beneficiaries; and processing and paying prescription drug claims.

28. CMS regulations require that all subcontracts between Part D Plans and PBMs contain
language obligating the PBM to comply with all applicable federal laws, regulations, and CMS
instructions.

29. PBMs are compensated for the services they provide to Plan Sponsors in several ways,
including administrative and service fees paid to them by the Plan Sponsors, and less commonly,
by retaining a portion of the rebates provided by drug manufacturers in connection with the sale

of prescription drugs.

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D. Bona Fide Service Fees

30. In addition to the services they provide to Plan Sponsors on one side of the distribution
chain, PBMs also sometimes provide fee-based services to drug manufacturers on the other side
of the distribution chain. These services include rebate or program administration and data
collection and often stem from the PBMs’ ability to provide prescription drug manufacturers the
convenience of having one point of contact for numerous Plan Sponsors which reduces the
manufacturers’ transaction costs, In exchange for these services, manufacturers sometimes pay
PBSs what are called Bona Fide Service Fees (“BFSFs”).

31, BFSFs are not tied to the purchase or sale of any drug but are paid by manufacturers to
PBMs for performing certain itemized services.

32. In order for a fee to qualify as a BFSF, the fee must be paid by a manufacturer to a Part D
Plan Sponsor or a PBM and must meet the definition of “bona fide service fees” provided at 42
CFR 423.501. Pursuant to that definition, a BFSF must meet all of the following conditions:

1) The fee must be paid for a bona fide, itemized service that is actually performed on
behalf of the manufacturer,

2) The manufacturer would otherwise perform or contract for the service in the absence of
the service arrangement;

3) The fee represents fair market value; and

4) The fee is not passed on, in whole or in part, to a client or customer of an entity, whether
or not the entity takes title to the drug.

33. The purpose of these regulatory conditions is to ensure that BFSFs paid by manufacturers
to PBMs are genuine fair-market-value fees for services provided and not rebates or other price

concessions in disguise that affect the price of prescription drugs.

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E. Medicare Part D Reimbursement

34. Reinsurance and risk-sharing are two of the payment mechanisms by which the Medicare
Program reimburses Part D Plan Sponsors for providing prescription drug coverage. CMS is
required by statute to base these payments on a Part D Plan Sponsor’s “allowable reinsurance
costs” and “allowable risk corridor costs,” which must be “actually paid.” As defined at 42 CFR
423.308, “actually paid” costs must be actually incurred by the Part D Plan Sponsor and net of any
applicable direct or indirect remuneration (“DIR”).

35. Section 1860D-15(f(1)(A) of the Social Security Act requires Part D Pian Sponsors to
fully disclose to CMS any information necessary for carrying out the payment provisions of Part
D, including the calculation of reinsurance and risk-sharing. Therefore, Part D Pian Sponsors are
required to report to CMS their drug costs and DIR associated with the Medicare prescription drug
benefit. Consistent with section 1860D-15(d)(2)(A) of the Social Security Act, CMS’s payments
to a Part D Plan Sponsor are conditioned upon the Plan Sponsor’s provision of this required data
to CMS.

F. Annual Part D Sponsor Bidding Process

36. A Part D Plan Sponsor submits a bid to CMS in the year prior to the calendar year in which
Part D benefits will actually be delivered to beneficiaries. The bid contains the Plan Sponsotr’s
estimated per member per month (“PMPM”) cost for providing Part D benefits to an average
Medicare beneficiary in a particular geographic area.

37. From all of the bids that are submitted, CMS calculates nationwide and regional
benchmarks which represent the average PMPM cost. If the Part D Plan Sponsor’s individual bid
is higher than the benchmark, an enrolled beneficiary must pay the difference as part of a monthly

premium. CMS then provides each Part D Plan Sponsor with advance monthly payments equal to

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the Part D Plan Sponsor’s standardized bid, risk adjusted for health status, minus the monthly
beneficiary premium, estimated reinsurance subsidies for catastrophic coverage, and estimated
low-income subsidies.

G. Prescription Drug Event Reporting

38. Each time a pharmacy dispenses drugs to a Medicare beneficiary, it submits an electronic
claim to the beneficiary’s Part D plan and receives reimbursement from the Plan Sponsor for the
costs not paid by the beneficiary (i.e., the prescription drug costs in excess of the beneficiary’s co-
pay).

39. After receiving a claim, the Part D Plan Sponsor utilizes a record called a Prescription Drug
Event (“PDE”) to notify CMS that a prescription drug was purchased by and dispensed to a Part
D beneficiary. The PDE includes the amount that the Plan Sponsor paid to the pharmacy. The PDE
is an electronically created document that includes at least thirty-seven fields of information about
a specific drug transaction.

40. At the end of the payment year, CMS uses the information in the PDEs to reconcile its
advance payments to the Plan Sponsor with the actual costs the Plan Sponsor incurred for the
prescription drugs. If a Part D Plan Sponsor’s actual costs exceed the estimated costs, the Plan
Sponsor may be able to recoup some of its losses through a risk sharing agreement with CMS. If
a Part D Plan Sponsor’s actual costs are lower than the previously estimated costs by a specified
amount, payments to the Part D Plan Sponsor for the year are reduced and the Plan Sponsor will
be required to pay back some of the estimated payments it received during the prior year.

41. As acondition for receiving its monthly payment from CMS, a Part D Plan Sponsor must

certify the accuracy, completeness and truthfulness of all data related to the payment. This data

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may include enrollment information, claims data, bid submission data, and any other data specified
by CMS.

42. If the claims data has been generated by a subcontractor of a Part D Plan Sponsor, such as
a PBM, that subcontracting entity must “similarly certify” that the claims data it has generated is
accurate, complete, and truthful, and must acknowledge that the data will be used to obtain federal
reimbursement.

H. Direct and Indirect Remuneration Reporting

43. Because of rebates and other price concessions provided by manufacturers and pharmacies
after the point of sale, the list price initially paid by a Part D Plan and recorded in a PDE often
does not reflect the actual cost paid by the Part D Plan for the drug in question.

44, Therefore, in addition to the PDE reporting requirements described above, “[f]ees,
payments, or payment adjustments made after the point-of-sale that change the cost of Part D
covered drugs for Part D sponsors or PBMs must be reported to CMS as Direct or Indirect
Remuneration [(“DIR”)]."

45. Part D Plan Sponsors are required to submit annual DIR Submission Information,
Summary DIR Reports, and Detailed DIR Reports (collectively, “DIR Reports”) to CMS to
document price concessions (e.g., drug manufacturer rebates) that ultimately impact the gross
prescription drug costs of Medicare Part D plans but that are not captured at the point of sale.

46. DIR Reports are used by CMS in tandem with PDE data to “true up” what is paid to a Part

D Plan Sponsor by CMS for a given plan year.

| Fact Sheet, Medicare Part D-—Direct and Indirect Reniuneration (DIR), CMS.gov (Jan. 19, 2017),
https://www.cms.gov/newsroom/fact-sheets/medicare-part-d-direct-and-indirect-remuneration-dir.

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47.CMS relies on this dual-reporting system in order to make sure its payments to Plan
Sponsors are accurate:

The Part D reconciliation process, in particular, is dependent on
transaction data summarized on [PDE] records. . . . [but] [o]ften, the
Part D sponsor or its pharmacy benefits manager (PBM) receives
additional compensation after the point-of-sale that serves to change
the final cost of the drug for the payer, or the price paid to the
pharmacy for the drug. Examples of such compensation include
rebates provided by manufacturers and concessions paid by
pharmacies. Under Medicare Part D, this post point-of-sale
compensation is called Direct and Indirect Remuneration (DIR) and
is factored into CMS’s calculation of final Medicare payments to
Part D plans. ...

Part D sponsors and PBMs are engaging to a greater extent in
arrangements that feature compensation after the point-of-sale, and
the value of such compensation is also generally increasing. As a
result, CMS has observed a growing disparity between gross Part D
drug costs, calculated based on costs of drugs at the point-of-sale,
and net Part D drug costs, which account for all DIR.

DIR results from payment arrangements negotiated independent of
CMS, between Part D sponsors, PBMs, network pharmacies, drug
manufacturers, and other parties involved in the administration of
the Part D benefit... .

The final plan payments by CMS are, per statute, to be based on the
costs actually incurred by Part D sponsors. These actual costs must
reflect_any applicable DIR. DIR is apportioned only between
Medicare and the Part D plan, generally based on the share of the
total Part D drug costs that each is responsible for over the course of
the payment year.”

48. Failure to accurately report and account for DIR as required results in Medicare paying
more than is actually owed to a Part D Plan Sponsor and/or recouping less than would be

appropriate.

* Fd. (emphasis added).

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49, Per the regulations at 42 CFR 423,308, DIR is any form of price concession, received from
any source (including manufacturers, pharmacies, enrollees, or any other person or entity) by either
by the Part D Plan Sponsor or by an intermediary contracting organization, such as a PBM with
which the sponsor has contracted, that serves to decrease the costs incurred under the Part D plan
by the Part D Plan Sponsor, either directly or indirectly.

50. DIR includes discounts, chargebacks, rebates, cash discounts, free goods contingent on a
purchase agreement, up-front payments, coupons, goods in kind, free or reduced-price services,
grants, legal judgment amounts, settlement amounts from lawsuits or other legal action, and other
price concessions or similar benefits. DIR also includes price concessions from and additional
contingent payments to network pharmacies that cannot reasonably be determined at the point of
sale.

51. Price concessions meeting the above criteria are required by CMS to be reported as DIR in
the Summary and Detailed DIR Reports regardless of whether the intermediary contracting
organization (e.g., the PBM) retains all or a portion of the price concession or passes through the
entire amount to the Plan Sponsor.*

52. CMS specifies that PBM-retained rebates constitute DIR and must be reported as such.°

53. While any remuneration that directly or indirectly affects drug costs, such as rebates, must
be reported as DIR, other price concessions or payments that do not directly or indirectly impact

drug costs incurred by the Part D Plan Sponsor are not considered DIR and do not need to be

reported as such.®

3 See CMS, Revised Final Medicare Part D DIR Reporting Requirements for 2018, p. 6 (April 30, 2019).
4 id.
3 Ted,
8 Td,

12

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54. Among the payments that CMS specifically recognizes as not constituting DIR are BFSFs
that Plan Sponsors or PBMs receive from pharmaceutical manufacturers.’

55, While BFSFs are not considered DIR, they must nevertheless be reported to CMS on Plan
Sponsors’ DIR Reports in a separately designated non-DIR section.®

56. In order for a fee to be properly reported as a BFSF and thus not be considered DIR, the
fee must be paid by a manufacturer to a Part D Plan or a PBM and must meet the definition of
“bona fide service fees” provided at 42 CFR 423.501, set forth above.”

57. CMS requires that the Part D Plan Sponsor “must maintain documentation supporting the
evaluation of the above criteria for bona fide service fees.”!

58. According to CMS, “[t]he element of ‘fair market value’ means the manufacturer must pay
the Part D sponsor or PBM the same rate for performing these services that it would have paid had
the services been performed by other or similarly situated entities.”

59. CMS requires that “[m]anufacturers must determine the fair market value themselves,
using the most appropriate, industry-accepted method, which we believe manufacturers are well-
equipped to identify.”

60. CMS further requires that “[dJocumentation of the fair market value analysis needs to be
maintained by the [Part D Plan Sponsor,]” and that “[t]his documentation shall include, at a

minimum, assumptions, methodology, and rationale used to determine fair market value.”3

7 Id. at pp. 6, 27-28,
8 iad.

° Id. at p. 27.

'0 Id. at p. 28.

id, at p. 27.

12 Id.

13 Te.

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ENVISION ORGANIZATIONAL STRUCTURE

61. The Defendants are affiliated entities involved in the pharmaceutical services and insurance
industry.

62. EIC, ROL, EPS, and Does I — V are and have since 2015 been wholly-owned subsidiaries
of Rite Aid.

63. ROI and EPS function as PBMs.

64, ROI and EPS divide up the different aspects of services typically offered by a PBM and
contract with each other to provide those services for their clients. RO] manages all the provider
contracts with pharmacies (addressing, inter alia, drug pricing and distribution) and employs all
the employees for the Envision companies. EPS, on the other hand, has all the trade contracts with
pharmaceutical manufacturers (addressing, inter alia, rebates and formularies).

65. All non-affiliated Part D and commercial insurance plan clients contract directly with EPS
as their PBM, which in turn subcontracts with ROI to provide its pharmacy network.

66. In 2007, Envision formed its own insurance company, Envision Insurance Company
(“EIC”), as a wholly-owned subsidiary.

67. Upon inception, EIC applied to CMS and was granted a Medicare Part D Plan.

68. Unlike all of Envision’s non-affiliated insurance plan clients, EIC contracts directly with
ROI as its PBM. ROI then subcontracts with EPS to negotiate and manage EIC’s contracts and
dealings with pharmaceutical manufacturers.

69. EIC is the only insurance plan that contracts directly with ROI.

70. Defendant Rite Aid purchased Envision in 2015. Ride Aid oversees and controls all

operations of Envision and is the ultimate parent of all the Defendants herein.

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71. Relator was the Vice President of Finance and subsequently the Chief Underwriting Officer
for Envision from June 2008 through September 30, 2019 and has personal knowledge of the
fraudulent scheme described herein.

ENVISION’S FRAUDULENT SCHEME

72. At least since 2015, Defendants have been intentionally defrauding the Medicare Part D
program by falsely reporting as BFSFs on EIC’s annual DIR reports amounts that are not BFSFs
but are actually manufacturer rebates being retained by EPS.

73. Specifically, Defendants developed a scheme whereby EPS has been retaining 20% of all
manufacturer rebates for prescription drugs provided to EIC’s Part D plan beneficiaries
(hereinafter, the “Retained Rebates”), and EIC has been knowingly and falsely reporting the
Retained Rebates as BFSFs each year on its DIR reports, instead of reporting them as DIR as it is
required to do.

74, This scheme enables EIC’s affiliate EPS to keep the entirety of its retained rebate amounts
as profit instead of passing the rebate savings on to Medicare as required.

75. Though EPS serves as the PBM for multiple insurance plans, it only retains these rebates
in connection with its affiliate Part D Plan Sponsor, EIC.

76. Defendants’ reporting of the Retained Rebates as BFSFs is in violation of CMS’s DIR
reporting requirements, which expressly require PBM-retained rebates to be reported as DIR and
also require compliance with specific criteria to qualify as a BFSF.

77. The Retained Rebates do not satisfy the legal requirements to be considered BFSFs.

78. Because EIC is falsely reporting the Retained Rebates as BFSFs and not as DIR,

Defendants are depriving Medicare of amounts that Medicare is entitled to recover.

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79, EIC has fraudulently reported Retained Rebates as BFSFs in the range of $58 million to
$65 million each year since 2016.

80, Defendant Rite Aid was aware of the scheme to fraudulently report Retained Rebates as
BSFSs. The scheme was reported to John Standley (Rite Aid CEO) and Darren Karst (Rite Aid
CFO) and other Rite Aid executives. Standley and Karst expressed some concern about the scheme
but did not prohibit it. Because of Standley and Karst’s concern about the fraudulent scheme, it
was only utilized with the affiliated EIC and not any unaffiliated Plan Sponsor clients,

81. The Retained Rebates are price concessions that change (i.e, reduce) the cost for
prescription drugs provided to EIC’s Part D beneficiaries.

82. The amounts of the Retained Rebates are not related to or determined based upon the
quantity and value of any itemized services provided by EIC, but rather are tied directly to rebates
given by manufacturers on drugs provided to E1C’s Part D beneficiaries—i.e., EPS has retained a
flat 20% of all rebates.

83. The Retained Rebates are not in exchange for any bona fide, itemized services actually
performed by EPS on behalf of any pharmaceutical manufacturer.

84. Even if they were in exchange for some bona fide, itemized services actually performed by
EPS on behalf of pharmaceutical manufacturers, the Retained Rebates far exceed fair market value
for any such services.

85. Upon information and belief, the pharmaceutical manufacturers with which EPS has
contracted are not aware that EPS is retaining 20% of rebates as purported BFSFs for services
purportedly provided on their behalf.

86. Upon information and belief, none of EPS’s contracts with pharmaceutical manufacturers

reference or provide for the Retained Rebates as purported BFSFs.

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87. Upon information and belief, none of the pharmaceutical manufacturers with which EPS
has contracted have conducted any fair market value analyses in connection with the Retained
Rebates that Defendants are claiming as BFSFs.

88. Upon information and belief, none of the pharmaceutical manufacturers with which EPS
has contracted have provided any documentation of any fair market value analysis in connection
with the Retained Rebates that Defendants are claiming as BFSFs.

89. Instead of maintaining documentation of fair market value analysis prepared by
manufacturers as required by CMS, Defendants have instead been fabricating their own documents
in an effort to justify the Retained Rebates that Defendants are claiming as BFSFs (hereinafter, the
“Fabricated FMV Documentation”).

90. Defendants have created and are maintaining the Fabricated FMV Documentation in an
attempt to support their fraudulent misclassification of the Retained Rebates as BFSFs in the event
of an audit.

91. Because of Relator’s former position with the Defendants, Relator witnessed and has
personal knowledge of the DIR reports submitted by EIC to CMS each year from 2016 through
2019.

92. Upon information and belief, Defendants did not change their practice for the 2019 DIR
report, which would have been submitted in or about July 2020.

SPECIFIC FLASE CLAIMS

93, On or before June 30, 2016, EIC submitted DIR Reports to CMS for 2015 (the “2015 DIR
Reports”).

94. Bill Epling (“Epling”), President of EIC, signed the 2015 DIR Reports on behalf of EIC

and certified that the information reported therein was true and accurate.

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95, In the 2015 DIR Reports, EIC reported approximately $58 million as BFSFs.

96. The approximately $58 million that EIC reported as BFSFs in its 2015 DIR Reports were
not actually BFSFs but were manufacturer rebates retained by EPS.

97. The approximately $58 million that EIC reported as BFSFs in its 2015 DIR Reports did
not satisfy the criteria for BFSFs provided at 42 CFR 423.501.

98, EIC knew that its reporting of the approximately $58 million of Retained Rebates as BFSFs
on its 2015 DIR Reports was false.

99. EIC failed to report the approximately $58 million of Retained Rebates as DIR anywhere
else on the 2015 DIR Reports.

100. Defendants did not obtain any fair market value analysis or documentation from
any manufacturer in connection with the approximately $58 million EIC claimed as BFSFs on its
2015 DIR Reports.

101. As a result of Defendants’ false and fraudulent reporting in connection with the
2015 DIR Reports, Defendants have been overpaid by and have failed to repay Medicare in the
amount of approximately $58 million.

102. On or before June 30, 2017, EIC submitted DIR Reports to CMS for 2016 (the
“2016 DIR Reports”).

103. Epling signed the 2016 DIR Reports on behalf of EIC and certified that the
information reported therein was true and accurate.

104. In the 2016 DIR Reports, EIC reported approximately $60 million as BFSFs.

105. The approximately $60 million that EIC reported as BFSFs in its 2016 DIR Reports

were not actually BFSFs, but were manufacturer rebates retained by EPS.

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106. The approximately $60 million that EIC reported as BFSFs in its 2016 DIR Reports
did not satisfy the criteria for BFSFs provided at 42 CFR 423.501.

107. EIC knew that its reporting of the approximately $60 million of Retained Rebates
as BFSFs on its 2016 DIR Reports was false.

108. EIC failed to report the approximately $60 million of Retained Rebates as DIR
anywhere else on the 2016 DIR Reports.

109. Defendants did not obtain any fair market value analysis or documentation from
any manufacturer in connection with the approximately $60 million EIC claimed as BFSFs on its
2016 DIR Reports.

110. As a result of Defendants’ false and fraudulent reporting in connection with the
2016 DIR Reports, Defendants have been overpaid by and have failed to repay Medicare in the
amount of approximately $60 million.

111. On or before June 30, 2018, EIC submitted DIR Reports to CMS for 2017 (the
2017 DIR Reports”).

112. Epling signed the 2017 DIR Reports on behalf of EIC and certified that the
information reported therein was true and accurate.

113, In the 2017 DIR Reports, EIC reported approximately $62 million as BFSFs.

114. The approximately $62 million that EIC reported as BFSFs in its 2017 DIR Reports
were not actually BFSFs, but were manufacturer rebates retained by EPS.

115. The approximately $62 million that EIC reported as BFSFs in its 2017 DIR Reports
did not satisfy the criteria for BFSFs provided at 42 CFR 423.501.

116. EIC knew that its reporting of the approximately $62 million of Retained Rebates

as BFSFs on its 2017 DIR Reports was false.

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117. EIC failed to report the approximately $62 million of Retained Rebates as DIR
anywhere else on the 2017 DIR Reports.

118. Defendants did net obtain any fair market value analysis or documentation from
any manufacturer in connection with the approximately $62 million EIC claimed as BFSFs on its
2017 DIR Reports.

119. As a result of Defendants’ false and fraudulent reporting in connection with the
2017 DIR Reports, Defendants have been overpaid by and have failed to repay Medicare in the

amount of approximately $62 million.

120. On or before June 30, 2019, EIC submitted DIR Reports to CMS for 2018 (the
“2018 DIR Reports”).
121. Epling signed the 2018 DIR Reports on behalf of EIC and certified that the

information reported therein was true and accurate.

122, In the 2018 DIR Reports, EIC reported approximately $65 million as BFSFs.

123. The approximately $65 million that EIC reported as BFSFs in its 2018 DIR Reports
were not actually BFSFs, but were manufacturer rebates retained by EPS.

124, The approximately $65 million that EIC reported as BFSFs in its 2018 DIR Reports
did not satisfy the criteria for BFSFs provided at 42 CFR 423.501.

125. EIC knew that its reporting of the approximately $65 million of Retained Rebates
as BFSFs on its 2018 DIR Reports was false.

126. EIC failed to report the approximately $65 million of Retained Rebates as DIR

anywhere else on the 2018 DIR Reports.

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127. Defendants did not obtain any fair market value analysis or documentation from
any manufacturer in connection with the approximately $65 million EIC claimed as BFSFs on its
2018 DIR Reports.

128. As a result of Defendants’ false and fraudulent reporting in connection with the
2018 DIR Reports, Defendants have been overpaid by and have failed to repay Medicare in the

amount of approximately $65 million.

COUNT ONE
False Claims Act: Presentation of False Claims in Violation of 31 U.S.C. § 3729{a)(D)(A)
129. Relator realleges and incorporates the preceding paragraphs as if set forth fully
herein.
130. Defendants, personally and by and through their officers, members, agents, and

employees, authorized their various officers, members, agents, and employees to take the actions
relating to the conduct alleged above.

131. As a result of the schemes described above, including but not limited to the false
reporting of the Retained Rebates as BFSFs on their DIR Reports, Defendants knowingly
presented or caused to be presented false or fraudulent claims for payment to the United States
and/or the United States’ contractors, grantees, or other recipients in violation of 31 U.S.C. §
3729(a)(1){A).

132. Defendants “knowingly” violated the False Claims Act, as that term is defined in
31 U.S.C. § 3729(b)(1). As to each of the above allegations, Defendants acted with actual
knowledge of the alleged information, in deliberate disregard of the truth or falsity of the alleged
information, and/or in reckless disregard of the truth or falsity of the alleged information.

133. As a result, the United States suffered actual damages in an amount to be

detertnined at trial.

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COUNT TWO
False Claims Act: False Records or Statements in Violation of 31 U.S.C. § 3729(a)(1)(B)
134. Relator realleges and incorporates the preceding paragraphs as if set forth fully
herein.
135. Defendants, personally and by and through their officers, members, agents, and

employees, authorized their various officers, members, agents, and employees to take the actions
relating to the conduct alleged above.

136. Due to their schemes described above, Defendants knowingly made, used, or
caused to be made or used false or fraudulent statements material to false or fraudulent claims to
the United States and/or the United States’ contractors, grantees, or other recipients, in violation
of 31 U.S.C, § 3729(a)(1)(B).

137, Defendants “knowingly” violated the False Claims Act, as that term is defined in
31 U.S.C. § 3729(b)(L). As to each of the above allegations, Defendants acted with actual
knowledge of the alleged information, in deliberate disregard of the truth or falsity of the alleged
information, and/or in reckless disregard of the truth or falsity of the alleged information.

138. As a result, the United States suffered actual damages in an amount to be
determined at trial.

COUNT THREE
False Claims Act: Conspiracy in Violation of 31 U.S.C. § 3729(a)(1)(C)

139. Relator realleges and incorporates the preceding paragraphs as if set forth fully
herein.
140. Defendants, personally and by and through their officers, members, agents, and

employees, authorized their various officers, members, agents, and employees to take the actions

relating to the conduct alleged above.

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141, By their actions as detailed above, Defendants conspired to commit violations of
31 U.S.C. §§ 3729(a)(1)(A), (a)C1)(B), and (a)(1)(G).

142. Defendants had a singular conspiratorial plan, which was for EPS to retain 20% of
manufacturer rebates only for drugs provided to its affiliate EIC’s Medicare Part D beneficiaries
and for EIC to falsely claim those Retained Rebates as BFSFs on its annual DIR Reports, so as to
enable Defendants to keep those Retained Rebates and deprive Medicare of its right to recover
those Retained Rebates.

143, To achieve their shared conspiratorial plan, Defendants conspired to commit
violations of 31 U.S.C. § 3729(a)(1)(A) by knowingly presenting or causing to be presented false
or fraudulent claims for payment to the United States and/or the United States’ contractors,
grantees, or other recipients in violation of 31 U.S.C. § 3729(a)(1)(A).

144, As detailed above, Defendants each performed overt acts in furtherance of their
conspiracy to violate 31 U.S.C. § 3729(a)(1)(A).

145, Also to achieve their shared conspiratorial plan, Defendants conspired to commit
violations of 31 U.S.C.§ 3729(a}(1)(B) by knowingly making, using, or causing to be made or
used, false records or statements material to false or fraudulent claims to the United States and/or
the United States’ contractors, grantees, or other recipients, in violation of 31 U.S.C.
§3729(a)(1)(B).

146. As detailed above, Defendants each performed overt acts in furtherance of their
conspiracy to violate 31 U.S.C. § 3729(a)(1)(B).

147. Also to achieve their shared conspiratorial plan, Defendants conspired to commit
violations of 31 U.S.C.§ 3729(a)(1)(G) by knowingly making, using, or causing to be made or

used, false records or statements material to an obligation to pay or transmit money or property to

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the Government, and knowingly concealing and/or knowingly and improperly avoiding or
decreasing an obligation to pay or transmit money or property to the Government.

148. As detailed above, Defendants each performed overt acts in furtherance of their
conspiracy to violate 31 U.S.C. § 3729(a)(1)(G).

149, Defendants “knowingly” violated the False Claims Act, as that term is defined in
31 U.S.C. § 3729(b)(1). As to each of the above allegations, Defendants acted with actual
knowledge of the alleged information, in deliberate disregard of the truth or falsity of the alleged
information, and/or in reckless disregard of the truth or falsity of the allege information.

150. As a result of the Defendants’ conspiracy, the United States suffered actual

damages in an amount to be determined at trial.

COUNT FOUR
Reverse False Claims in Violation of 31 U.S.C. § 3729(a)(1)(G)
151, Relator realleges and incorporates by reference the allegations previously alleged
herein.
152. Defendants, personally and by and through their officers, members, agents, and

employees, authorized their various officers, members, agents, and employees to take the actions
relating to the conduct alleged above.

153. Due to their schemes described above, including but not limited to the false
reporting of the Retained Rebates as BFSFs on their DIR Reports, Defendants knowingly made,
used, or caused to be made or used a false record or statement material to an obligation to pay or
transmit money or property to the Government and knowingly concealed and/or knowingly and
improperly avoided or decreased an obligation to pay or transmit money or property to the

Government in violation of 31 U.S.C. § 3729(a)(1}(G).

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154, The United States, unaware of the false or fraudulent nature of these claims, paid
such claims when it would not otherwise have paid had it known the truth.

155. Defendants “knowingly” violated the False Claims Act, as that term is defined in
31 U.S.C. § 3729(b)(1). As to each of the above allegations, Defendants acted with actual
knowledge of the alleged information, in deliberate disregard of the truth or falsity of the alleged
information, and/or in reckless disregard of the truth or falsity of the alleged information.

156. As a result, the United States suffered actual damages in an amount to be
determined at trial.

PRAYER FOR RELIEF

WHEREFORE, Relator, on behalf of Relator and the United States of America, prays as
follows:

(a) That this Court enter judgment against Defendants jointly and severally in an amount
equal to three times the amount of damages the United States Government has sustained because
of Defendants’ actions, plus a civil penalty of $5,500.00 to $11,000.00 (or in such other amount
as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990 pursuant to 31 U.S.C.
§ 3729(a)(1)) for each action in violation of 31 U.S.C. § 3729(a), and the costs of this action, with
interest, including the costs to the United States Government for its expenses related to this action;

(b) That Relator be awarded all costs incurred, including reasonable attorneys’ fees and
expenses, in accord with 31 U.S.C. § 3730(d);

(c) That, in the event the United States Government elects to intervene in and proceed with
this action, Relator be awarded between 15% and 25% of the proceeds of the action or of any

settlement in accord with 31 U.S.C. § 3730(d)(1);

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(d) That, in the event that the United States Government does not intervene in and proceed
with this action, Relator be awarded between 25% and 30% of the proceeds of the action or of any
settlement in accord with 31 U.S.C. § 3730(d)(2),

(e) That, pursuant to 31 U.S.C. § 3730(c)(5), Relator be awarded a share of any alternate
remedy that the United States Government elects to pursue;

(f) That permanent injunctive relief be granted to prevent any recurrence of the conduct
described above for which redress is sought in this Complaint;

(g) That the United States and Relator be awarded prejudgment and post judgment interest;
and

(h) That the United States and Relator receive all relief, both at law and in equity, to which
they may be reasonably entitled.

Respectfully submitted,

ROLF GOFFMAN MARTIN LANG LLP

(s/ Joseph F. Petros HI

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Counsel for Relator

JURY DEMAND

A trial by jury is hereby demanded.

/s/ Joseph F. Petros [ff
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